PLAINTIFFS in error were defendants below and are hereinafter so referred to, or by name. Defendant in error is referred to as the city.
Defendants were convicted of vagrancy. They appealed to the county court where they were again convicted and fined $150 each. To review that judgment they prosecute this writ and ask that it be made a supersedeas. There are eleven specifications of points which in fact constitute but two assignments: (1) The evidence is insufficient. (2) Section 2, chapter 107, volume 4, '35 C.S.A., upon which the city relies, is unconstitutional.
So much of the city ordinance as is here material reads: "A vagrant within the meaning and provisions of this article shall be deemed to be: * * * 6. Any person who shall lead an * * * immoral * * * course of life." 1927 Municipal Code of Denver, §§ 1345, 1346.
So much of said statute as is here material reads: "All marriages between negroes or mulattoes, of either sex, and white persons, are also declared to be absolutely void. * * *; Provided that nothing in this section shall be so construed as to prevent the people living in that portion of the state acquired from Mexico from marrying according to the custom of that country." This statute has been in force from territorial days. L. Colo. Ter. 1864, p. 108, § 2. *Page 198 
[1] (1) This assignment is fully answered by a statement of undisputed facts disclosed by the record. March 20, 1941, the defendants, a colored man and a white woman, were arrested while living together as though married, hence the charge. In February, 1939, both being then married (not to each other) and while so living together, they were arrested, tried, and convicted of vagrancy. On their release they resumed that relationship and continued it to the time of their arrest in the instant case. Their defense on the facts is that in November, 1939, they entered into a common-law marriage, having meanwhile been divorced from their former mates. The man testified "I asked her if she would be my wife, she said `Yes.' She asked me if I would be her husband, I said `Yes'." Just like that. Nothing more. The unqualified testimony of the man was that he belonged to the "negro race," and the unqualified testimony of the woman was that she belonged to the "white race." If such a marriage could be so contracted it is clear that the essential element of good faith was absent. If there was no marriage the woman's name was Brethaner. When first arrested she gave it as Hafner.
Counsel strenuously contend that the facts do not bring the case within the common-law definition of vagrancy. We are not here concerned with that definition since the ordinance in question specifically defines the meaning of "vagrant," as therein used, and that ordinance and that definition would be good had vagrancy been unknown to the common law. While the statute stands, such conduct by such people in the city of Denver constitutes gross immorality and a clear violation of the ordinance.
[2] (2) It is contended that said statute is unconstitutional because: (a) It discriminates against negroes and denies defendants the equal protection of the law; (b) it is ambiguous and incapable of interpretation; (c) by the proviso, or exception, it is limited in its operation to but a portion of the commonwealth. *Page 199 
It has generally been held that such acts are impregnable to the attack here made. 38 C.J., p. 1291, sec. 28;Pace v. Alabama, 106 U.S. 583, 1 Sup. Ct. 637,27 L. Ed. 207; State v. Gibson, 36 Ind. 389, 10 Am. Rep. 42; In ReWalker's Estate, 5 Ariz. 70, 46 Pac. 67; State v. Tutty, 41 Fed. 753.
[3] (a) There is here no question of race discrimination. The statute applies to both white and black. Had the woman only been prosecuted she would, and should, have been convicted. Since, under the facts, defendants could not, either ceremonially or by common law, be married, they were, if living together, leading "an immoral course of life." If not, a white man and white woman could do likewise with impunity and that other statute making it a criminal offense to live in an open and notorious state of adultery is void.
[4] (b) The alleged ambiguity is said to arise from the fact that it is sometimes impossible to determine who are negroes, mulattoes, and whites. If that objection were ever good it would only be in case some difficulty was presented as to its interpretation. No such issue confronts us here since defendants admitted they were within its terms and a constitutional question can only be raised by one whose rights are infringed by the invalidity complained of. This rule is universal and is supported by countless decisions. We have so held some twenty-five times. Hence citation would seem superfluous and we give but one. There we said the proposition was "elementary." Post Printing Co. v. Denver,68 Colo. 50, 54, 189 Pac. 39.
[5-8] (c) As to the limitation of the proviso there are several complete answers to this defense. The marriage customs of that portion of the state acquired from Mexico have never been defined by statute or decision. Custom is a question of proof. Who so claims the benefit of this proviso must bring himself within it by his evidence. There is none in this record. For aught we know no custom of that territory contravenes the statute *Page 200 
and, evidence to the contrary being absent, that presumption must stand. Again, there is no evidence that the city of Denver, wherein the alleged common-law marriage was contracted and consummated, lies within the excepted territory, and we take judicial knowledge of the fact that it does not. Moreover, such provisions and exceptions rest in the discretion of the legislature and are generally upheld. Missouri ex rel. Bowman v.Lewis, 101 U.S. 22, 25 L. Ed. 989; Maitland v. People,93 Colo. 59, 23 P.2d 116. Were it otherwise and the proviso invalid, the remainder of the act, under a universally accepted rule of interpretation, stands, and defendants are not benefited. 11 Am. Jur., p. 834, § 152;People v. Max, 70 Colo. 100, 198 Pac. 150.
The judgment is affirmed.
MR. JUSTICE BOCK and MR. JUSTICE HILLIARD dissent.